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No. 23-1590

The Public Interest Legal Foundation vg. Secretary of Commonwealth of PA, et al

ENTRY OF APPEARANCE

Please list the names of all parties represented, using additional sheet(s) if necessary:

Public Interest Legal Foundation

Indicate the party’s role IN THIS COURT (check only one):

El Petitioner(s) Ed Appellant(s) LE] Intervenor(s)
[1 Respondent(s) Appellee(s) {1 Amicus Curiae

(Type or Print) Counsel’s Name Noel H. Johnson

Mr. LT] Ms. LT] Mrs. {| Miss LT] Mx.

Firm Public Interest Legal Foundation

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Primary E-Mail Address (required) ‘johnson@publicinterestlegal.org

Additional E-Mail Address (1)
Additional E-Mail Address (2)
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL: Ay ef Asa]

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney

Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
